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 6                                      UNITED STATES DISTRICT COURT
                                             DISTRICT OF NEVADA
 7
 8    Jysan Holding, LLC, et al.                     )        Case # 2:23-cv-00247-JAD-VCF
                                                     )
 9                                                   )
                                                     )        VERIFIED PETITION FOR
10                      Plaintiffs),                 )        PERMISSION TO PRACTICE
                                                     )        IN THIS CASE ONLY BY
11            vs.                                    )        ATTORNEY NOT ADMITTED
      Republic of Kazakhstan, et al.,                )        TO THE BAR OF THIS COURT
12                                                   )        AND DESIGNATION OF
                                                     )        LOCAL COUNSEL
13                                                   )
                        Defendant(s).                )
14

15

16                       Tariq Mundiya             ? Petitioner, respectfully represents to the Court:
                        (name of petitioner)
17
              1.        That Petitioner is an attorney at law and a member of the law firm of
18
                                           Willkie Farr & Gallagher LLP
19                                                    (firm name)

20    with offices at                                787 Seventh Avenue__________________________ ,
                                                        (street address)
21                       New York                     ,New York                  p| 10019-6099 5
22                         (city)                                    (state)                    (zip code)

23              (212)728-8565                  ,         Tmundiya@willkie.com
        (area code + telephone number)                      (Email address)
24
              2.        That Petitioner has been retained personally or as a member of the law firm by
25
                    Jysan Holding, LLC                     to provide legal representation in connection with
26                    [client(s)]

27    the above-entitled case now pending before this Court.

28                                                                                                       Rev. 5/16
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 1            3.     That since          05/07/1990          , Petitioner has been and presently is a
                                             (date)                                                         I—
 2    member in good standing of the bar of the highest Court of the State of New York                     pl
                                                                                           (state)
 3    where Petitioner regularly practices law. Petitioner shall attach a certificate from the state bar or
 4    from the clerk of the supreme court or highest admitting court of each state, territory, or insular

 5    possession of the United States in which the applicant has been admitted to practice law certifying
 6    the applicant's membership therein is in good standing.

 7            4.     That Petitioner was admitted to practice before the following United States District
 8    Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts
 9    of other States on the dates indicated for each, and that Petitioner is presently a member in good
10    standing of the bars of said Courts.
11                           Court                              Date Admitted             Bar Number
12                       See Exhibit A

13

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              5.     That there are or have been no disciplinary proceedings instituted against petitioner,
20
      nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory
21
      or administrative body, or any resignation or termination in order to avoid disciplinary or
22
      disbarment proceedings, except as described in detail below:
23
       None
24

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28                                                      2                                            Rev. 5/16
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 1            6.       That Petitioner has never been denied admission to the State Bar of Nevada. (Give

 2    particulars if ever denied admission):

 3    None
 4

 5

 6            7.       That Petitioner is a member of good standing in the following Bar Associations.

 7    New York State Bar Association

 8

 9

10            8.       Petitioner has filed application(s) to appear as counsel under Local Rule IA 11-2

11    (formerly LRIA 10-2)   during the past three (3) years in the following matters:   (State "none" if no applications.)

12    Date of Application                Cause                      Title of Court                   Was Application
                                                                  Administrative Body                  Granted or
13                                                                  or Arbitrator                        Denied

14             None

15

16

17

18

19                       (If necessary, please attach a statement of additional applications)

20            9.       Petitioner consents to the jurisdiction of the courts and disciplinary boards of the

21    State of Nevada with respect to the law of this state governing the conduct of attorneys to the same

22    extent as a member of the State Bar of Nevada.

23             10.     Petitioner agrees to comply with the standards of professional conduct required of

24    the members of the bar of this court.

25             11.     Petitioner has disclosed in writing to the client that the applicant is not admitted to

26    practice in this jurisdiction and that the client has consented to such representation.

27

28                                                          3                                                    Rev. 5/16
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 1            That Petitioner respectfully prays that Petitioner be admitted to practice before this Court

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 7                   Tariq Mundiya, Petitioner, being first duly sworn, deposes and says:

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14
                          Qualified in Richmond County
                       Certificate Filed in New York County
15                      Commission Expires Mar. 8,2023


16                    DESIGNATION OF RESIDENT ATTORNEY ADMITTED TO
                       THE BAR OF THIS COURT AND CONSENT THERETO.
17
              Pursuant to the requirements of the Local Rules of Practice for this Court, the Petitioner
18
                                                                         J. Stephen Peek
      believes it to be in the best interests of the client(s) to designate                         ,
19                                                                     (name of local counsel)
      Attorney at Law, member of the State of Nevada and previously admitted to practice before the
20
      above-entitled Court as associate resident counsel in this action. The address and email address of
21
      said designated Nevada counsel is:
22

23                                             9555 Hillwood Drive, 2nd Floor                                ,
                                                        (street address)
24
                        Las Vegas          ____________ , Nevada___________________ Q,         89134     ,
25                       (city)                                      (state)                  (zip code)

26              (702) 222-2544                     ,          Speek@hollandhart.com
       (area code + telephone number)                            (Email address)
27

28                                                            4                                     ReV. 5/16
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 1    By this designation the petitioner and undersigned party(ies) agree that this designation constitutes

 2    agreement and authorization for the designated resident admitted counsel to sign stipulations
 3    binding on all of us.
 4

 5               APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL
 6

 7           The undersigned party(ies) appoint(s)    ______ J. Stephen Peek_____________ as
                                                            (name of local counsel)
 8    his/her/their Designated Resident Nevada Counsel in this case.
 9

10                                             /s/ M. Ron Wahid
                                            (party's signature)
11
                                               Jysan Holding, LLC - Managing Member
12                                          (type or print party name, title)
13
                                            (party's signature)
14

15
                                            (type or print party name, title)
16

17                             CONSENT OF DESIGNEE
             The undersigned hereby consents to serve as associate resident Nevada counsel in this case.
18

19
                                              /s/ J. Stephen Peek
20                                          Designated Resident Nevada Counsel’s signature
21                                             1758                        speek@hollandhart.com
                                            Bar number                    Email address
22

23
      APPROVED:
24
      Dated: this         day of, 20                         .
25

26
      UNITED STATES DISTRICT JUDGE
27

28                                                     5                                           Rev. 5/16
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                             Exhibit A


      Court                Date Admitted           Bar Number
    New York                05/07/1990              2345304
   USCA-10,h Cir            06/19/2015                 N/A
   USCA-lst Cir             09/30/2011                 N/A
   USCA-2nd Cir             09/26/1997               97-640
   USCA- 3rd Cir            09/29/1993                 N/A
   USCA- 6th Cir            05/27/2003                 N/A
   USCA-8,h Cir             03/09/2004                 N/A
   USCA-9,h Cir             03/24/2015                 N/A
   USDC-EDNY                07/18/1990              TM2246
   USDC-EDWI                04/19/1994                 N/A
   USDC-SDNY                06/19/1990              TM2246
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           Appellate Division of the Supreme Court
                     of the State of New York
                    First Judicial Department


     I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                         Tariq Mundiya
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on May 7, 1990, has
duly taken and subscribed the oath of office prescribed by law, has
been enrolled in the Roll of Attorneys and Counselors at Law on
file in this office, is duly registered with the Administration Office
of the Courts, and     according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of New York on
                            November 17, 2022.




                                        Clerk of the Court




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                   Supreme Court of the State of New York
                    Appellate Division, First Department
                                             ROLANDO T. ACOSTA
                                                PRESIDING JUSTICE
 SUSANNA MOLINA ROJAS                                                                  MARGARET SOWAH
      CLERK OF THE COURT                                                               DEPUTY CLERK OF THE COURT




To Whom It May Concern


       An attorney admitted to practice by this Court may request a certificate of good
standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history may
be viewed through the attorney search feature on the website of the Unified Court
System.


       New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the First Judicial Department.


     Bar examination history is available from the New York State Board of Law
Examiners.


       Instructions, forms and links are available on this Court's website.




                                                            Susanna Rojas
                                                            Clerk of the Court




Revised October 2020



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